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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

SIMON TUSHA and
J.T., a minor,
               Plaintiffs,

                                            Case No. 1:21-cv-00494-RGA
v.

PEDIATRIC ASSOCIATES, P.A.,
ANN M. MASCIANTONIO, M.D.,

             Defendants.


       MOTION FOR SECOND EXTENSION OF TIME TO AMEND
                       COMPLAINT

        Plaintiff Simon Tusha, through his undersigned counsel, submits this
request for the Court to grant more time to amend the complaint for the following
reasons:
     1. Plaintiff Simon Tusha had a second cancer surgery on May 2, 2022 and
         was hospitalized due to complications. He had a third surgery on June 3,
         2022 and has a fourth scheduled for July 13, 2022.
     2. Plaintiff hereby requests until August 15, 2022 to amend the complaint.
     3. Undersigned counsel has contacted Defendants’ counsel. Defendants’
         counsel’s position is that they “do not have authority to consent to the
         request for another extension following the Court’s grant of our motion to
         dismiss on substantive grounds”.

 Dated: June 14, 2022                      Respectfully Submitted,

                                          /s/ E. Calvin Harmon, Jr.
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